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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT BLUEFIELD

UNITED STATES OF AMERICA

v.                                         CRIMINAL NO. 1:02-00241

CARLOS DEAN SCOTT


                       MEMORANDUM OPINION AND ORDER

        Pending before the court is Defendant's motion, brought

pursuant to 18 U.S.C. § 3582(c)(2), to reduce his sentence based

on a subsequent reduction in the applicable sentencing guideline.

(Doc. # 510).*       On November 1, 2007, the United States Sentencing

Guidelines were amended to reduce by two levels the guidelines in

Section 2D1.1 for cocaine base (also known as crack).

Subsequently, the Sentencing Commission amended Section 1B1.10 to

make the crack amendment retroactive, effective March 3, 2008.

        At defendant’s sentencing hearing, the court determined

that his Total Offense Level was 40 which resulted in a guideline

sentencing range of 360 months to life.            Defendant was sentenced

to a term of imprisonment of 360 months.               Even with the benefit

of the amendment, defendant’s Total Offense Level remains a 40

and, with a criminal history of VI, his guideline imprisonment

range remains 360 months to life.




        *
          Also pending are defendant’s motion to supplement his
§ 3582(c)(2) motion (doc. # 532) and his motion to proceed pro se
and remove the Office of the Federal Public Defender as counsel
of record (doc. # 538). These motions are GRANTED.
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        Despite the fact that his guideline range has not been

lowered as a result of the amendment, defendant contends that

this court may nevertheless reduce his sentence pursuant to

United States v. Booker, 543 U.S. 220 (2005).            See Defendant’s

Supplemental Memo (Doc. # 532-1).        Defendant is incorrect.         As

the Fourth Circuit has stated:

        Accordingly, we emphasize that proceedings to
        modify sentence under Section 3582 are limited in
        nature and, therefore, are not intended to be
        full resentencings. As the Supreme Court
        recently explained in Dillon, “Section
        3582(c)(2)'s text, together with its narrow
        scope, shows that Congress intended to authorize
        only a limited adjustment to an otherwise final
        sentence and not a plenary resentencing
        proceeding.” Dillon, 130 S.Ct. at 2691. Like
        Section 3582, U.S.S.G. § 1B1.10(a)(3) expressly
        identifies the same limitation, namely, that
        proceedings under 18 U.S.C. § 3582(c)(2) and this
        policy statement do not constitute a full
        resentencing of the defendant. U.S.S.G. §
        1B1.10(a)(3). In addition, as Dillon makes
        clear, Section 3582(c)(2) proceedings “do not
        implicate the interests identified in Booker,”
        because Booker involved application of the
        guidelines at an original sentencing. Dillon,
        130 S.Ct. at 2692; Bowers, 615 F.3d at 727.

United States v. Robinson, 413 Fed. Appx. 646, *648, 2011 WL

343946, * (4th Cir. 2011) (citing Dillon v. United States, 130 S.

Ct. 2683 (2010)).

        Based on the foregoing, defendant’s sentencing range has

not been lowered as a result of the amendment and, therefore, his

motion must be DENIED.




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        The Clerk is DIRECTED to send a copy of this Order to

Defendant, the United States Attorney, the Federal Public

Defender, and the United States Probation Office.

        IT IS SO ORDERED this 26th day of March, 2012.

                                         ENTER:


                                         David A. Faber
                                         Senior United States District Judge




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